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                                                              United States Bankruptcy Court
                                                                Middle District of Florida
In re:                                                                                                                 Case No. 10-03746-CPM
Stephen Kanya                                                                                                          Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 113A-8                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jun 22, 2022                                               Form ID: pdfdoc                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 24, 2022:
Recip ID                 Recipient Name and Address
db                     + Stephen Kanya, 7692 Cove Terrace, Sarasota, FL 34231-5310

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 24, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 22, 2022 at the address(es) listed below:
Name                               Email Address
Arthur C Neiwirth
                                   on behalf of Creditor American Heritage Federal Credit Union aneiwirthcourt@qpwblaw.com

Jay D. Passer
                                   on behalf of Creditor Estate of Milton Rubin tbcc2@verizon.net kathykorson@hotmail.com

Larry M Foyle
                                   on behalf of Creditor FORD MOTOR CREDIT CO LLC. bankruptcynotices@kasslaw.com,
                                   bankruptcynotices@yahoo.com;lfoyle@ecf.courtdrive.com

Larry M Foyle
                                   on behalf of Creditor Ford Motor Credit Company LLC bankruptcynotices@kasslaw.com
                                   bankruptcynotices@yahoo.com;lfoyle@ecf.courtdrive.com

Larry M Foyle
                                   on behalf of Creditor American Heritage Federal Credit Union bankruptcynotices@kasslaw.com
                                   bankruptcynotices@yahoo.com;lfoyle@ecf.courtdrive.com
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District/off: 113A-8                                               User: admin                                                       Page 2 of 2
Date Rcvd: Jun 22, 2022                                            Form ID: pdfdoc                                                  Total Noticed: 1
Mark D. Hildreth
                                  on behalf of Creditor Shoreland Holdings LP mhildreth@shumaker.com, skerrigan@shumaker.com

Nathan A Wheatley
                                  on behalf of U.S. Trustee United States Trustee - TPA 11 nathan.a.wheatley@usdoj.gov

Nicole Mariani Noel
                                  on behalf of Creditor Ford Motor Credit Company LLC bankruptcynotices@kasslaw.com nmnoel@ecf.courtdrive.com

R. John Cole, II
                                  on behalf of Debtor Stephen Kanya rjc@colecolelaw.com courtney@colecolelaw.com;rjcolelaw@aol.com;rc3@colecolelaw.com

Richard John Cole, III
                                  on behalf of Debtor Stephen Kanya rc3@colecolelaw.com
                                  rcole3@gmail.com;legalassistant@colecolelaw.com;rjc@colecolelaw.com

United States Trustee - TPA, 11
                                  USTPRegion21.TP.ECF@USDOJ.GOV


TOTAL: 11
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11 case), converted, or dismissed. These reports are to be filed on or before the
21st day of the month following the time period covered by the report.3 Upon the
reopening of a closed (or administratively abated) case, the reporting requirement
is again applicable while the case is open.

       Operating reports provide a mechanism for the Court, Debtor in Possession,
creditors, the United States Trustee, and other interested parties to monitor the
financial position of a chapter 11 estate during the chapter 11 process. The
operating reports allow the Debtor in Possession and all interested parties to detect
whether the financial condition of the estate is deteriorating and, therefore, whether
the chapter 11 process is a viable alternative for the estate. The responsibility to
file reports²and file them timely²is high on the list of fiduciary obligations
imposed upon a Debtor in Possession.

       In addition, the Debtor in Possession must pay a quarterly fee to the United
States Trustee until the case is closed (or administratively abated in an individual
Chapter 11 case), converted, or dismissed. The quarterly fee is payable on or
before the last day of the calendar month following the calendar quarter for which
the fee is owed.4 As with the reporting requirement, the payment requirement is
again applicable while the case is open.

      The failure timely to comply with the duties to file operating reports and pay
quarterly fees constitutes grounds for the Court to convert this case to a case under
chapter 7 or dismiss the case.5 Consequently, the Court urges the Debtor in
Possession to calendar and timely comply with the deadlines for filing any required
operating report and paying the required quarterly fee.

         It is accordingly

         ORDERED:

      1. If the Debtor in Possession fails timely to (i) file any required monthly or
quarterly operating report or (ii) pay the required quarterly fee, the Court will


3
 8QLWHG6WDWHV7UXVWHH¶V*XLGHOLQHV, ¶¶ 8 and 13. See also Fed. R. Bankr. P. 2015(a)(6) for
Small Business Monthly Operating Reports.
4
    28 U.S.C. § 1930(a)(6).
5   See 11 U.S.C. § 1112(b)(4)(F), (H), and (K).
                                                   2
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dismiss this case upon motion by the United States Trustee or sua sponte, without a
hearing.

       2. For good cause shown by motion filed on or before the due date of an
operating report or payment, the Court may enlarge a particular deadline. (Of
course, if this happens, WKHHVWDWH¶V lawyer will be entitled to bill the estate and be
paid for this work,6 unless the lawyer directly caused the need for an enlargement.)


The Clerk of the Court shall serve the Debtor. Otherwise, service shall be made by
CM/ECF to CM/ECF users only.




6
 Payment is subject to proper application, notice, hearing, and order approving compensation
under 11 U.S.C. §§ 330 and 331.
                                               3
